

Matter of Foglia (2019 NY Slip Op 06129)





Matter of Foglia


2019 NY Slip Op 06129


Decided on August 8, 2019


Appellate Division, Third Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided and Entered: August 8, 2019

[*1]
In the Matter of RENE A. FOGLIA, an Attorney. 

(Attorney Registration No. 2016830)

Calendar Date: July 29, 2019

Before: Lynch, J.P., Clark, Devine, Rumsey and Pritzker, JJ.


Rene A. Foglia, New Smyrna Beach, Florida, pro se.
Monica A. Duffy, Attorney Grievance Committee for the Third Judicial Department, Albany, for Attorney Grievance Committee for the Third Judicial Department.



MEMORANDUM AND ORDER
Per Curiam.
Rene A. Foglia was admitted to practice by this Court in 1985 and lists a business address in Lake Buena Vista, Florida with the Office of Court Administration. Foglia now seeks leave to resign from the New York bar for nondisciplinary reasons (see  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [a]). The Attorney Grievance Committee for the Third Judicial Department (hereinafter AGC) advises that it does not oppose Foglia's application.
Upon reading Foglia's affidavit sworn to April 24, 2019 and filed June 11, 2019, and upon reading the July 23, 2019 correspondence in response by the Chief Attorney for AGC, and having determined that Foglia is eligible to resign for nondisciplinary reasons, we grant her application and accept her resignation.
Lynch, J.P., Clark, Devine, Rumsey and Pritzker, JJ., concur.
ORDERED that Rene A. Foglia's application for permission to resign is granted and her nondisciplinary resignation is accepted; and it is further
ORDERED that Rene A. Foglia's name is hereby stricken from the roll of attorneys and counselors-at-law of the State of New York, effective immediately, and until further order of this Court (see generally  Rules for Attorney Disciplinary Matters [22 NYCRR] § 1240.22 [b]); and it is further
ORDERED that Rene A. Foglia is commanded to desist and refrain from the practice of law in any form in the State of New York, either as principal or as agent, clerk or employee of another; and Foglia is hereby forbidden to appear as an attorney or counselor-at-law before any court, judge, justice, board, commission or other public authority, or to give to another an opinion as to the law or its application, or any advice in relation thereto, or to hold herself out in any way as an attorney and counselor-at-law in this State; and it is further
ORDERED that Rene A. Foglia shall, within 30 days of the date of this decision, surrender to the Office of Court Administration any Attorney Secure Pass issued to her.








